     Case 4:18-cv-02220 Document 8 Filed in TXSD on 09/27/18 Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Laura K. Warren

v.                                           Case Number: 4:18−cv−02220

CBE Group, Inc.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
Courtroom 11B
United States District Court
515 Rusk Ave
Houston, TX
DATE: 11/20/2018

TIME: 02:00 PM
TYPE OF PROCEEDING: Initial Conference


Date: September 27, 2018
                                                       David J. Bradley, Clerk
